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UNITE]) STATES DISTRICT COURT
MII)DLE DISTRICT OF FLORIDA
TAMPA DIVISION

DISH NETWORK L.L.C.
and NAGRASTAR LLC.
Plaintiffs,

Civil Case No. 8:18-cv-l 332-T-33AAS

V.

NELSON JOHNSON, JASON
LABOSSIERE` SET BROADCAST LLC.
STREAMING ENTERTAINMENT
TECHNOLOGY LLC, DOE l, as Trustee
for Chateau Living Revocable Trust, and
DOE 2, as Trustee for Macrornint Trust,
individually and collectively d/b/a
WWW.SetvnoW.com,

Defendants.

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IORDER AUTHORIZING TRANSFER oF ASSETS

Before the Court is the Agreed Motion for an Order authorizing the transfer of assets filed
jointly by Plaintiffs DISH Network L.L.C. and NagraStar LLC (together, "DISH”) and Defendants
Nelson Johnson, Jason LaBossiereq Set Broadcast LLC. and Streaming Entertainment Technology
LLC. The Court GRANTS the motion and ORDERS as folloWs:

Any bank or other financial institution holding assets subject to the asset freeze provision
of the Court`s June 4, 2018 temporary restraining order (Dkt. 15) and/or the Court’s July 2, 2018
preliminary injunction (Dkt. 63 )` is authorized to immediately release and transfer those assets in
Whole or in part, upon receiving a written request executed by counsel for DISH and counsel for
Defendants. If Defendants are not the account holden the Written request will also be executed by

the account holder or its counsel. The assets may be transferred to any account listed in the written

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request, by any means designated in the Written request, including by Wire transfer. The assets
may also be Withdrawn, as cash or otherwise, if the written request so speciHes.

DONE and ORDERED in Charnbers in Tampa, Florida on ( fagg g lS_ , 2018.

A NDA ARNOLD SANSONE

United States Magistrate Judge

